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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION


              RAISSA DJUISSI KENGNE,
                       Plaintiff,                           CIVIL ACTION FILE
                  v.                                        NO. 1:22-cv-02237-SEG
              ID.me, INC., and COGENCY
              GLOBAL, INC.,
                       Defendants.


                                                    ORDER

                   Plaintiff, proceeding without counsel, seeks leave to file this civil action in

             forma pauperis (“IFP”), without prepayment of fees and costs or security therefor,

             pursuant to 28 U.S.C. § 1915(a)(1). [Doc. 1, Application].

                   The affidavit of poverty submitted by Plaintiff indicates that over the past twelve

             months, Plaintiff has earned an average monthly income of $7,500 from her

             employment and retirement, which amounts to $90,000 on an annual basis. [Doc. 1

             at 1–2]. Before she left her most recent employment, she was earning $9,583.00 per

             month. She does not list any children or a spouse that rely on her for support. [Id. at

             3]. She reports that she owns a condominium valued at approximately $500,000, a

             land lot worth $55,000, and an abandoned house worth approximately $200,000. [Id.].




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             Plaintiff has estimated her total monthly expenses at approximately $13,125.00. [Id.

             at 5].

                      Plaintiff’s allegations of poverty are not fully supported by the record. With an

             annual income of approximately $90,000, Plaintiff is well above the poverty level.1

             Although Plaintiff lists average monthly expenses of $13,125.00, some of the

             discretionary amounts for one person seem unnecessarily high, such as $1000 for food,

             $200 for laundry and dry cleaning, and $6000 to Bank of America, Citi Bank, and

             American Express. [Doc. 1 at 4].

                      Although Plaintiff may have limited funds, and may have other priorities for

             those funds, I believe that she is able to pay the required $402 filing fee and should do

             so if she wishes to pursue this case. For the reasons stated, I find that Plaintiff has

             sufficient means to pay the filing fee and incur the costs of these proceedings. Thus,

             Plaintiff’s request to proceed IFP is DENIED.

                      If Plaintiff wishes to proceed with this action, she is ORDERED to pay the

             appropriate filing fee to the Clerk within 21 days of the date of this Order.2 Thereafter,


                      1
                          See https://aspe.hhs.gov/poverty-guidelines (last visited June 8, 2022).
                      2
                       Before she does so, however, the Court notes–from its initial review of
             Plaintiff’s proposed complaint–that it is doubtful any of the federal and state statutes
             cited by Plaintiff provide any individual right of action in federal court. Should
                                                           2




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             Plaintiff must effect service of the summons and complaint upon the defendants in

             accordance with the Federal Rules of Civil Procedure. Failure to pay the filing fee

             may result in a recommendation that this action be dismissed.            The Clerk is

             DIRECTED to re-submit this matter to me on July 6, 2022.

                   IT IS SO ORDERED, this 8th day of June, 2022.




                                                     CATHERINE M. SALINAS
                                                     UNITED STATES MAGISTRATE JUDGE




             Plaintiff seek to proceed with her lawsuit, she should first endeavor to ensure that she
             alleges a valid claim and that federal and/or diversity jurisdiction exists. Otherwise,
             her complaint may be subject to dismissal for failure to state a plausible claim and/or
             lack of subject matter jurisdiction.
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